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                                                                                                                CLOSED
                                        U.S. District Court
                             Southern District of California (San Diego)
                        CIVIL DOCKET FOR CASE #: 3:24−cv−02273−H−DTF

Romero v. Amazon.com, Inc.                                               Date Filed: 12/05/2024
Assigned to: Judge Marilyn L. Huff                                       Date Terminated: 03/24/2025
Referred to: Magistrate Judge D. Thomas Ferraro                          Jury Demand: Plaintiff
Cause: 07:0213(b) Unfair, discriminatory, deceptive practice/marketing   Nature of Suit: 890 Other Statutory Actions
                                                                         Jurisdiction: Federal Question

Early Neutral Evaluation Conference:                                     Settlement Conference:
Case Management Conference:                                              Settlement Disposition Conference:
Status Hearing:                                                          Pretrial Conference:
Status Conference:                                                       Final Pretrial Conference:
Mandatory Settlement Conference:                                         Trial Date:
Plaintiff
Mayra Romero                                              represented by Jessica Rose Pfeiff
on behalf of herself and all others similarly                            Swigart Law Group, APC
situated                                                                 2221 Camino del Rio South
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V.
Defendant
                       Case 2:25-cv-00548-JNW          Document 25         Filed 03/27/25      Page 2 of 4
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 Date Filed        #    Docket Text

 12/05/2024    Ï1       COMPLAINT with Jury Demand against Amazon.com, Inc. ( Filing fee $ 405 receipt number
                        ACASDC−19407958.), filed by Mayra Romero. (Attachments: # 1 Civil Cover Sheet)

                        The new case number is 3:24−cv−2273−H−MSB. Judge Marilyn L. Huff and Magistrate Judge
                        Michael S. Berg are assigned to the case. (Swigart, Joshua)(axi) (jms). (Entered: 12/06/2024)
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12/06/2024    Ï2     Summons Issued.
                     Counsel receiving this notice electronically should print this summons and serve it in
                     accordance with Rule 4, Fed.R.Civ.P and LR 4.1. (axi) (jms). (Entered: 12/06/2024)

12/06/2024    Ï3     MINUTE ORDER OF RECUSAL. Magistrate Judge Michael S. Berg is no longer assigned. Case
                     reassigned to Magistrate Judge Benjamin J. Cheeks for all further proceedings. The new case
                     number is 24−cv−02273−H−BJC.(no document attached) (mjw) (Entered: 12/06/2024)

12/10/2024    Ï4     SUMMONS Returned Executed by Mayra Romero. Amazon.com, Inc. served. (Pfeiff, Spencer)
                     (mjw). (Entered: 12/10/2024)

12/18/2024    Ï5     Joint MOTION for Extension of Time to File Response/Reply as to 1 Complaint, by Amazon.com,
                     Inc.. (Attachments: # 1 Declaration of Kevin S. Asfour)(Asfour, Kevin)Attorney Kevin S. Asfour
                     added to party Amazon.com, Inc.(pty:dft) (mjw). (Entered: 12/18/2024)

12/18/2024    Ï6     Corporate Disclosure Statement by Amazon.com, Inc.. No Corporate Parents/Interested Parties.
                     (Asfour, Kevin) (mjw). (Entered: 12/18/2024)

12/18/2024    Ï7     NOTICE of Party With Financial Interest by Amazon.com, Inc. . No Parties With Financial
                     Interest. (Asfour, Kevin) (mjw). (Entered: 12/18/2024)

12/19/2024    Ï8     ORDER Granting Joint Motion for Extension of Time to Respond to Complaint [Doc. No. 5 ].
                     Responses due by 1/29/2025. Signed by Judge Marilyn L. Huff on 12/19/2024. (mjw) (Entered:
                     12/19/2024)

01/02/2025    Ï9     Request to Appear Pro Hac Vice (Filing fee received: $224.00 receipt number
                     ACASDC−19471845.)(Application to be reviewed by Clerk.) (Sparkes, Robert)(jrd) (Entered:
                     01/02/2025)

01/06/2025   Ï 10    Request to Appear Pro Hac Vice ( Filing fee received: $ 224 receipt number ACASDC−19478205.)
                     (Application to be reviewed by Clerk.) (Tor, Loly) (exs). (Entered: 01/06/2025)

01/06/2025   Ï 11    ORDER Approving the Pro Hac Vice Application of Loly G. Tor, re 10 Request to Appear Pro Hac
                     Vice. Signed by Judge Marilyn L. Huff on 1/6/2025.(exs) (Entered: 01/06/2025)

01/06/2025   Ï 12    ORDER Approving the Pro Hac Vice Application of Robert W. Sparkes, III, re 9 Request to
                     Appear Pro Hac Vice. Signed by Judge Marilyn L. Huff on 1/6/2025.(exs) (Entered: 01/06/2025)

01/07/2025   Ï 13    Request to Appear Pro Hac Vice ( Filing fee received: $ 224 receipt number ACASDC−19482228.)
                     (Application to be reviewed by Clerk.) (Nagle, Jennifer) (exs). (Entered: 01/07/2025)

01/07/2025   Ï 14    ORDER Approving the Pro Hac Vice Application of Jennifer J. Nagle, re 13 Request to Appear Pro
                     Hac Vice. Signed by Judge Marilyn L. Huff on 1/7/2025.(exs) (Entered: 01/07/2025)

01/14/2025   Ï 15    AMENDED COMPLAINT with Jury Demand against Amazon.com, Inc.. (Swigart, Joshua) (sjt).
                     (Entered: 01/14/2025)

01/14/2025   Ï 16    MINUTE ORDER OF TRANSFER. Magistrate Judge Benjamin J. Cheeks is no longer assigned.
                     Case reassigned to Magistrate Judge D. Thomas Ferraro for all further proceedings. The new case
                     number is 24−cv−02273−H−DTF.(no document attached) (anh) (Entered: 01/15/2025)

01/28/2025   Ï 17    MOTION to Change Venue by Amazon.com, Inc.. (Attachments: # 1 Memo of Points and
                     Authorities, # 2 Declaration of Yoka Ariwaodo, # 3 Exhibit A (to Declaration of Yoka
                     Ariwaodo))(Asfour, Kevin) (mjw). (Entered: 01/28/2025)

01/28/2025   Ï 18    MOTION to Dismiss for Failure to State a Claim by Amazon.com, Inc.. (Attachments: # 1 Memo
                     of Points and Authorities, # 2 Request for Judicial Notice, # 3 Declaration of Kevin S. Asfour, # 4
                     Exhibit A (to Declaration of Kevin S. Asfour), # 5 Exhibit B (to Declaration of Kevin S. Asfour), #
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                     6 Exhibit C (to Declaration of Kevin S. Asfour), # 7 Exhibit D (to Declaration of Kevin S. Asfour),
                     # 8 Exhibit E (to Declaration of Kevin S. Asfour), # 9 Exhibit F (to Declaration of Kevin S.
                     Asfour), # 10 Exhibit G (to Declaration of Kevin S. Asfour), # 11 Exhibit H (to Declaration of
                     Kevin S. Asfour), # 12 Exhibit I (to Declaration of Kevin S. Asfour))(Asfour, Kevin) (mjw).
                     (Entered: 01/28/2025)

02/06/2025   Ï 19    Joint MOTION to Continue Hearings on Motion to Transfer Venue and Motion to Dismiss and to
                     Modify Briefing Schedule by Amazon.com, Inc.. (Asfour, Kevin) (mjw). (Entered: 02/06/2025)

02/11/2025   Ï 20    ORDER: (1) Granting Joint Motion to Continue; and (2) Setting Briefing Schedule for Defendants
                     Motion to Dismiss and Motion to Transfer Venue [Doc. No. 19 ]. Signed by Judge Marilyn L. Huff
                     on 02/11/2025. (mjw) (Entered: 02/11/2025)

03/03/2025   Ï 21    RESPONSE in Opposition re 17 MOTION to Change Venue filed by Mayra Romero.
                     (Attachments: # 1 Declaration Decl. J. Swigart, # 2 Exhibit Ex. A, # 3 Exhibit Ex. B)(Swigart,
                     Joshua) (mjw). (Entered: 03/03/2025)

03/10/2025   Ï 22    REPLY to Response to Motion re 17 MOTION to Change Venue filed by Amazon.com, Inc..
                     (Asfour, Kevin)(mjw). (Entered: 03/10/2025)

03/11/2025   Ï 23    ORDER Submitting Defendants Motion to Transfer Venue [Doc. No. 17 ]. Signed by Judge
                     Marilyn L. Huff on 03/11/2025.(mjw) (Entered: 03/11/2025)

03/24/2025   Ï 24    Case transferred to District of District Western Washington. Files transferred electronically to:
                     *District of Western District of Washington*.*700 Stewart Street, Suite 2310**Seattle, WA
                     98101*. Signed by Judge Marilyn L. Huff on 03/24/2025. (Attachments: # 1 Order) (mjw)
                     (Entered: 03/24/2025)
